Case 3:10-cv-01882-RNC Document 1 Filed 12/01/10 Page 1 of 5

UNITED STATES DlSTRiCT COURT
DISTRICT OF CONNECT¥CUT

 

RUSSELL K. LARIBEE CIVEL ACT!ON

Plaintiff

M|DLAND CRED|T MANAGEN¥ENT, |NC.;

MiDLAND FUND|NG LLC; and ENCORE

CAPlTAL GROUP, |NC., formerly known

as MCM CAPiTAL GROUP, |NC.,
Defendant

"-’-_¢'-_r~_r~_.¢-qu-~u'~_rv~_,~_.v-»¢\~_r

NOVEMBER 30, 2010

 

COMPLA|NT
i. lNTRODUCTlON
‘l: plaintiff brings this action to secure redress against unlawful cciiection
practices engaged in by defendants iV|idland Credit Managernent, lnc. (“i\/iCi\/l”); Midland
Funding Li_C; and Enccre Capitai Group, lnc., formerly known as i\ACl\/| Capitaf Grcup,
lnc. (“Encore”). P|aintiff alleges vioiations of the Fair Debt Coi|ection Practices Act
(“FDCPA”), 15 U.S.C. §§ 1692 etseq. and brings a pendent State law claim against
Midland Funding LLC for its violations of the Creditor Co||ecticn Practices Act (“CCPA”),

Conn. Gen. Stat. § 36a-645.

 

 

Case 3:10-cv-01882-RNC Document 1 Filed 12/01/10 Page 2 of 5

|l. PARTlES

2. Plaintiff, Russell K. i_aribee, is a natural person residing in I\/foodus,
Connecticut.

3. Defendant i\/lid|and Funding |,.LC is a Delaware corporation With its principal
place of business at 8875 Aero Drive, Suite 200, San Diego, CA 92123. it does or
transacts business in Conriecticut acquiring or claiming to acquire charged-off debts
allegedly owed by consumers and originally owed to others and is a “debt collector” as
defined in the FDCPA.

4. Defendant lVlClVl is a Kansas corporation and is a debt collector as defined by
the FDCPA; lVlClVl collects the bad debts allegedly acquired by |\/lid|and Funding, i_l_C.

5. |Vlidland Funding Ll_C and |ViClVl are under common ownership Both are
subsidiaries of Encore, a publicly traded DelaWare corporation Witrz offices at 8875 Aero
Drive, Suite 200, San Diego, CA 92123.

6. Encore is a “debt collector" as defined in the FDCPA. Encore secures funds
from investors and lenders for the purpose of purchasing the debts to Which i\/|id|and
Funding LLC takes title, devises the collection strategies used by the other defendantsl

and participates in the debt collection activities

lll. JURISDlCT|ON
7. .Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d), 28
U.S.C. §§ 1331, 1367, and 1337, and Fed. R. Civ. P. lB(a).
8. This Court has jurisdiction over the defendants because they conduct

business Within Connecticut,

 

 

Case 3:10-cv-01882-RNC Document 1 Filed 12/01/10 Page 3 of 5

9. Venue in this Court is proper, as P|aintiff is a resident of Connecticut and the

acts complained of occurred in this state.
lV. l'-'ACTUAl_ ALLEGAT|ONS

‘lO_ l\/lidland Funding i.t.C purchased a consumer debt allegedly owed by F’|aintifi
(the “Debt").

‘l‘l_lvlCA/i, acting on behalf of l\/iidland Funding LLC, sent Piaintiffa collection
letter (the “i_etter”) regarding the Debt.

12.The l_etter contained a privacy notice which stated that the defendants may
disclose nonpublic personal information obtained in connection with debt collection
activities to third parties such as financial service providers, companies engaged in
banking, consumer finance companies, debt purchasing companies, and credit card
companies

13. The privacy notice in the Letter also stated that if Plaintiff desired that the
defendants not disclose nonpublic information about him to third parties such as those

referenced above, P|aintiff must so request.

V. COUNT ONE
Fair Debt Collection Pi'actices Act
14. Plaintiff incorporates Paragraphs ‘l-t3.
15. The privacy notice contained in the l_etter, as described above, violated 15
U.S.C. §§ '¥692e(5) and 1692e(t{)) in that it amounted to a false and misleading

representation which threatened to take action that could not legally be taken or was not

 

Case 3:10-cv-01882-RNC Document 1 Filed 12/01/10 Page 4 of 5

intended to be taken, and which was used as part of an attempt to collect the Debt from
Plaintiff or obtain information regarding Plaintiff.

iG.The defendants also violated 15 U.S.C. § 1692f by their unfair practices
described above and 15 U.S.C. § 1692d by harassing and abusing Plaintiff as described
above.

17, On or around August 28, 2009, a class action (“Class Action”) was filed in the
United States District Court for the District of Connecticut, on behalf of Plaintiff and
others whose rights were violated in the manner described -above; the Class Action Was
filed on or before one year after Plaintiff received the l_etter.

18. On or around the end of October 2010, Plaintiff received a notice regarding
the settlement of the Class Action; that notice stated that Plaintiff had until Decernber
13, 20t0 to opt-out of the Class Action.

19. Plaintiff has or wiil formally opt out of the Class Action by the Decernber 13,
2010 deadline

20_ For the defendants’ violations ot the FDCPA as described above, P|aintiff is
entitled to recover his actual damages, statutory damages of $‘l ,OO0.00, and reasonable

attorney’s fees, pursuant to 15 U.S.C. § 1692k.

Vl. COUNT TWO
Creditor Collection Practices Act
(As to llllidland Funding LLC Oniy)
21. Plaintiff incorporates Paragraphs 1-13 and Paragraphs 17-19 of Count Two.

22. The privacy notice contained in the Letter, as described above, also vioiated

the Creditor Co|lection Practices Act, Conn. Gen. Stat. § 36a-645 and Conn. Agencies

 

 

Case 3:10-cv-01882-RNC Document 1 Filed 12/01/10 Page 5 of 5

Reg.i §§ 36a-647-6(6) and 36a-647-6(11) in that it amounted to a false and misleading
representation which threatened to take action that could not legally be taken or was not
intended to be taken, and which was used as part of an attempt to collect the Debt frorn
P|aintiff or obtain information regarding Plaintiff.

23.|\/lid|and Funding l_LC also violated Conn. Gen. Stat. §.36a-645 and Conn.
Agencies Reg., § 36a-647-6 by its unfair and deceptive practices described above and
§ 36a-647-5 for its abusive conduct as described above.

24. For l\rlidland Funding Ll_C’s unfair acts Plaintiff seeks his damages statutory

damages and attorney’s fees and costs pursuant to the Public Act No. 07-176.

VVl-lEREFORE, the Plalntiff prays for the following relief:

Actual damages statutory damages and attorneys fees and costs pursuant to 15
U.S.C. § 1692k, and such other relief as this Court deems appropriate; damages
statutory damages and attorney’s fees and costs pursuant to the Public Act No. 07-176.

PLAlNT|FF, RUSSELL K. LARlBEE

/ \
By: /7‘!7;; §
Da rel S. B|i ” , ct02188

l\/latthew VV. Graeber, ct27545
db|inn@consumerlawgroup.corn
Consurner l_aw Group, Ll_C

35 Cold Spring Rd. Suite 512

Rocky l-lil|, CT 06067

'l'e|. (860) 571-0408; Fax. (860) 571-7457

 

